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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

KIRK NIELSEN, MORGAN OUTLAW,
REVEL LUBIN, FELICIA BRUCE,
BARBARA DEVANE, RAY DAVIS,                         Case No.
DONESA JACKSON, ALIANZA FOR
PROGRESS, INC., FLORIDA ALLIANCE
FOR RETIRED AMERICANS, and
                                                   PLAINTIFFS’ LOCAL RULE 5.6
PRIORITIES USA,
                                                   NOTICE OF A SIMILAR CASE
                Plaintiffs,

                        v.

RON DESANTIS, in his official capacity as
Florida Governor, LAUREL M. LEE, in her
official capacity as Florida Secretary of State,
ASHLEY MOODY, in her official capacity as
Florida Attorney General, THE FLORIDA
ELECTIONS CANVASSING COMMISSION,
KIM A. BARTON, in her official capacity as
Supervisor of Elections for ALACHUA
County, NITA CRAWFORD, in her official
capacity as Supervisor of Elections for BAKER
County, MARK ANDERSEN, in his official
capacity as Supervisor of Elections for BAY
County, TERRY L. VAUGHAN, in her official
capacity as Supervisor of Elections for
BRADFORD County, LORI SCOTT, in her
official capacity as Supervisor of Elections for
BREVARD County, PETER ANTONACCI, in
his official capacity as Supervisor of Elections
for BROWARD County, SHARON CHASON,
in her official capacity as Supervisor of
Elections for CALHOUN County, PAUL A.
STAMOULIS, in his official capacity as
Supervisor of Elections for CHARLOTTE
County, SUSAN A. GILL, in her official
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capacity as Supervisor of Elections for CITRUS
County, CHRIS H. CHAMBLESS, in her
official capacity as Supervisor of Elections for
CLAY County, JENNIFER J. EDWARDS, in
her official capacity as Supervisor of Elections
for COLLIER County, ELIZABETH P.
HORNE, in her official capacity as Supervisor
of Elections for COLUMBIA County, MARK
F. NEGLEY, in his official capacity as
Supervisor of Elections for DESOTO County,
STARLET CANNON, in her official capacity
as Supervisor of Elections for DIXIE County,
MIKE HOGAN, in his official capacity as
Supervisor of Elections for DUVAL County,
DAVID H. STAFFORD, in her official capacity
as Supervisor of Elections for ESCAMBIA
County, KAITI LENHART, in her official
capacity as Supervisor of Elections for
FLAGLER County, HEATHER RILEY, in her
official capacity as Supervisor of Elections for
FRANKLIN County, SHIRLEY G. KNIGHT,
in her official capacity as Supervisor of
Elections for GADSDEN County, CONNIE
SANCHEZ, in her official capacity as
Supervisor of Elections for GILCHRIST
County, ALETRIS FARNAM, in her official
capacity as Supervisor of Elections for
GLADES County, JOHN HANLON, in his
official capacity as Supervisor of Elections for
GULF County, LAURA HUTTO, in her official
capacity as Supervisor of Elections for
HAMILTON County, DIANE SMITH, in her
official capacity as Supervisor of Elections for
HARDEE County, BRENDA HOOTS, in her
official capacity as Supervisor of Elections for
HENDRY County, SHIRLEY ANDERSON, in
her official capacity as Supervisor of Elections
for HERNANDO County, PENNY OGG, in her
official capacity as Supervisor of Elections for
HIGHLANDS County, CRAIG LATIMER, in

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his official capacity as Supervisor of Elections
for HILLSBOROUGH County, THERISA
MEADOWS, in her official capacity as
Supervisor of Elections for HOLMES County,
LESLIE ROSSWAY SWAN, in her official
capacity as Supervisor of Elections for INDIAN
RIVER County, SYLVIA D. STEPHENS, in
her official capacity as Supervisor of Elections
for JACKSON County, MARTY BISHOP, in
his official capacity as Supervisor of Elections
for JEFFERSON County, TRAVIS HART, in
his official capacity as Supervisor of Elections
for LAFAYETTE County, ALAN HAYS, in
his official capacity as Supervisor of Elections
for LAKE County, TOMMY DOYLE, in his
official capacity as Supervisor of Elections for
LEE County, MARK EARLEY, in his official
capacity as Supervisor of Elections for LEON
County, TAMMY JONES, in her official
capacity as Supervisor of Elections for LEVY
County, GINA MCDOWELL, in her official
capacity as Supervisor of Elections for
LIBERTY County, THOMAS “TOMMY” R.
HARDEE, in his official capacity as Supervisor
of Elections for MADISON County,
MICHAEL BENNETT, in his official capacity
as Supervisor of Elections for MANATEE
County, WESLEY WILCOX, in his official
capacity as Supervisor of Elections for
MARION County, VICKI DAVIS, in her
official capacity as Supervisor of Elections for
MARTIN County, CHRISTINA WHITE, in her
official capacity as Supervisor of Elections for
MIAMI-DADE County, JOYCE GRIFFIN, in
her official capacity as Supervisor of Elections
for MONROE County, VICKI P. CANNON, in
her official capacity as Supervisor of Elections
for NASSAU County, PAUL A. LUX, in his
official capacity as Supervisor of Elections for
OKALOOSA County, DIANE HAGAN, in her

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official capacity as Supervisor of Elections for
OKEECHOBEE County, BILL COWLES, in
his official capacity as Supervisor of Elections
for ORANGE County, MARYJANE
ARRINGTON, in her official capacity as
Supervisor of Elections for OSCEOLA County,
WENDY SARTORYLINK, in her official
capacity as Supervisor of Elections for PALM
BEACH County, BRIAN E. CORLEY, in his
official capacity as Supervisor of Elections for
PASCO County, DEBORAH CLARK, in her
official capacity as Supervisor of Elections for
PINELLAS County, LORI EDWARDS, in her
official capacity as Supervisor of Elections for
POLK County, CHARLES OVERTURF, in his
official capacity as Supervisor of Elections for
PUTNAM County, TAPPIE A VILLANE, in
her official capacity as Supervisor of Elections
for SANTAROSA County, RON TURNER, in
his official capacity as Supervisor of Elections
for SARASOTA County, CHRIS ANDERSON,
in her official capacity as Supervisor of
Elections for SEMINOLE County, VICKY
OAKES, in her official capacity as Supervisor
of Elections for ST. JOHNS County,
GERTRUDE WALKER, in her official
capacity as Supervisor of Elections for ST.
LUCIE County, WILLIAM KEEN, in his
official capacity as Supervisor of Elections for
SUMTER County, GLENDA B. WILLIAMS,
in her official capacity as Supervisor of
Elections for SUWANNEE County, DANA
SOUTHERLAND, in her official capacity as
Supervisor of Elections for TAYLOR County,
DEBORAH K. OSBORNE, in her official
capacity as Supervisor of Elections for UNION
County, LISA LEWIS, in her official capacity
as Supervisor of Elections for VOLUSIA
County, HENRY WELLS, in her official
capacity as Supervisor of Elections for

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WAKULLA County, BOBBY BEASLEY, in
her official capacity as Supervisor of Elections
for WALTON County, CAROL F. RUDD, in
her official capacity as Supervisor of Elections
for WASHINGTON County,

Defendants.



       Plaintiffs, Morgan Outlaw, Revel Lubin, Kirk Nielsen, Felicia Bruce,

Barbara Devane, Ray Davis, Donesa Jackson, Alianza for Progress, Inc., Florida

Alliance for Retired Americans, Inc., and Priorities USA, pursuant to Local Rule

5.6, hereby file this Notice of Similar Case, as to point out that Plaintiffs’

Complaint (Doc. 1) involved issues of fact or law in common with the issues in the

following case pending in this judicial district:

       Williams et al. v. DeSantis et al., 1:20-cv-00067-RH-GRJ (N.D. Fla.)

                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 4, 2020 I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.




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Dated: May 4, 2020                     By: /s/ Frederick S. Wermuth
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                                         Counsel for the Plaintiffs
                                         * Pro Hac Vice motion forthcoming



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